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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
   Plaintiff,                                   Criminal no. 21-mj-1512 (BJM)
                 v.

 LUIS ALVARADO REYES
   Defendant.

               MOTION REQUESTING AUTHORIZATION TO FILE CJA VOUCHER

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Alvarado Reyes, and respectfully states and prays as

follows:

   1. In compliance with Local Criminal Rule 144(b)(1), the undersigned hereby submits the

       instant Motion.

   2. In accordance to said rule, an attorney must seek authorization from the presiding officer

       if a CJA Payment Voucher is submitted past the 45-day period from the entry of judgment.

   3. The undersigned was appointed to represent Mr. Alvarado Reyes on December 10, 2021,

       for this matter and also in a companion criminal case, Case Number 21-359 (PAD). (See

       Docket Entry #2)

   4. On December 22, 2021, this Court entered its Notice thereby concluding all matters

       pending before this Court. (See Docket Entry #10)

   5. The undersigned was unaware that the Notice entry on December 22, 2021 was comparable

       to the final resolution of the case.

   6. This confusion unfortunately delayed the timely submission the CJA Voucher for this case.

       WHEREFORE, the undersigned respectfully requests that the Court takes note of the

present motion and authorize the Motion for Authorization to File CJA Voucher.
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       RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 3rd day of march 2022.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


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